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                                  No. 03-2622C
                                  (Judge Lettow)

               IN THE UNITED STATES COURT OF FEDERAL CLAIMS


                     ENTERGY NUCLEAR INDIAN POINT 2, LLC

                                    Plaintiff,

                                        v.

                                UNITED STATES,

                                   Defendant.


        APPENDIX TO DEFENDANT'S REPLY TO PLAINTIFF'S RESPONSE TO
     DEFENDANT'S CROSS-MOTION FOR SUMMARY JUDGMENT ON LIABILITY

                                     PETER D. KEISLER
                                     Assistant Attorney General

                                     DAVID M. COHEN
                                     Director


                                     HAROLD D. LESTER, JR.
                                     Assistant Director


OF COUNSEL:                          JOSHUA E. GARDNER
                                     Trial Attorney
JANE K. TAYLOR                       U.S. Department of Justice
Office of General Counsel            Civil Division
U.S. Department of Energy            Commercial Litigation Branch
1000 Independence Ave., S.W.         1100 L Street, N.W.
Washington, D.C. 20585               Attn: Classification Unit
                                            8th Floor
                                     Washington, D.C. 20530
                                     Tele: (202) 305-7583
                                     Fax: (202) 307-2503

November 19, 2004                    Attorneys for Defendant
